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 David J.F. Gross (SBN 290951)
 david.gross@faegredrinker.com
 Nick P. Chan (SBN 286925)
 nick.chan@faegredrinker.com
 FAEGRE DRINKER BIDDLE & REATH LLP
 1950 University Ave., Suite 450
 East Palo Alto, CA 94303
 Telephone: (650) 324-6700
 Facsimile: (650) 324-6701

 [Additional counsel listed on signature page]

 Attorneys for Defendant
 nVision Medical Corporation


                                UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA

BIOCARDIA, INC.,                                 Case No. 3:20-cv-02829-VC

                   Plaintiff,                    (Related Case No. 3:19-CV-05645-VC)

       v.                                        DEFENDANT NVISION MEDICAL
                                                 CORPORATION’S MOTION TO
nVISION MEDICAL CORPORATION,                     DISMISS
ARBORETUM VENTURES IV, LP, ASTIA
ANGEL nVISION LLC, CATALYST                      District Judge: Hon. Vince Chhabria
HEALTH VENTURES (PF), L.P.,
CATALYST HEALTH VENTURES                         Hearing: December 3, 2020 (10:00 AM PT)
FOLLOW-ON FUND, L.P., CATALYST
HEALTH VENTURES III, L.P., CATALYST              JURY TRIAL REQUESTED
HEALTH VENTURES, LP, CHV
INVESTMENTS, LLC, CHV PARTNERS
FUND III, L.P., CHV-E PARTNERS III, L.P.,
DRAPER ASSOCIATES INVESTMENTS,
LLC, DRAPER ASSOCIATES
RISKMASTER FUND II, LLC, DRAPER
ASSOCIATES RISKMASTERS FUND III,
LLC, EXCELESTAR VENTURES I, LLC,
EXXCLAIM CAPITAL PARTNERS I, LP,
FOGARTY INSTITUTE FOR
INNOVATION, GOLDEN SEEDS nVISION
MEDICAL, LLC, LIFE SCIENCES ANGEL
INVESTORS VIII, L.L.C., LMNVC, LLC,
AND SERAPH nVISION, LLC,

                   Defendants.


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                            NOTICE OF MOTION AND MOTION

TO ALL PARTIES AND COUNSEL OF RECORD:

        PLEASE TAKE NOTICE that on Thursday, December 3, 2020 at 10:00 a.m. (PT), before

the Honorable Vince Chhabria in Courtroom 4 of the U.S. District Court for the Northern

District of California, located at 450 Golden Gate Avenue, San Francisco, California, Defendant

nVision Medical Corporation (“nVision”) will, by this motion and supporting memorandum of

points and authorities, move to dismiss pursuant to Rule 12(b)(6) all claims against nVision in

this action (“BioCardia II”) as violating the doctrine against claim splitting. To the extent any

claims survive claim splitting, nVision also moves to strike the Second Amended Complaint

(“SAC,” Dkt. 75) pursuant to Rule 12(f) and to dismiss pursuant to Rule 12(b)(6) for failure to

state a claim.

        There are also a number of other pending motions in this case and in the related case,

Boston Scientific Corp. et al. v. BioCardia, Inc., 3:19-CV-05645-VC (“BioCardia I”). For

convenience, Exhibit 1 to this motion provides an overview of all the contemporaneously-filed

motions in BioCardia I and BioCardia II and their relationship to one another, to the extent

applicable.




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                    MEMORANDUM OF POINTS AND AUTHORITIES

       As the Court previously summarized at the July 23, 2020 hearing, BioCardia’s second

lawsuit against nVision represents “quintessential claim splitting.” 1 (Ex. 2, July 23, 2020

Hearing Tr. at 24:19-20; see also id. at 19:8-11.) BioCardia’s SAC does nothing to affect this

assessment, and nVision therefore files this motion to dismiss based on claim splitting.2

                                 FACTUAL BACKGROUND

I.     The Original Case (“BioCardia I”) Did Not Include nVision As A Party.
       On August 6, 2019, BioCardia filed a request for arbitration against Sarna with the AAA

seeking a declaration of ownership of certain patents and unjust enrichment. (3:19-cv-05645-

VC, Dkt. 112, ¶ 2.) On September 6, 2019, Boston Scientific Corporation, Boston Scientific

Scimed Inc. (collectively “Boston Scientific”) and Fortis Advisors LLC (“Fortis”) filed a

declaratory-judgment action (“BioCardia I”), seeking declarations of correct inventorship and

ownership, no misappropriation of trade secrets, and no unjust enrichment as a result of Boston

Scientific’s acquisition of nVision. (3:19-cv-05645-VC, Dkt. 1.) The parties “subsequently

agreed that they would resolve all of their disputes in [BioCardia I],” such that “BioCardia

would withdraw the Arbitration Request” and “BioCardia would assert[] its claims against

Counterdefendants in [BioCardia I].” (3:19-cv-05645-VC, Dkt. 112, ¶ 6.)

       In the Joint Case Management Statement, the parties then jointly informed the Court that:

       BioCardia plans to amend its First Amended Answer and Counterclaims by
       December 11, 2019. The counterdefendants anticipate responding to BioCardia’s

1
  Emphases are added unless stated and “Ex.__” cites are exhibits to the Grimsrud Declaration.
2
  In the event the Court does not dismiss this action against nVision based on claim splitting,
nVision joins EXXclaim’s motion to strike the SAC pursuant to Rule 16(f) for exceeding the
scope of leave to amend. nVision also asks that BioCardia’s claims against it be dismissed for
failure to state a claim for the same reasons articulated in the contemporaneously filed motions to
dismiss in BioCardia I, including because (1) BioCardia’s inventorship claim fails to state a
claim on the merits, (2) BioCardia failed to establish its ownership of the alleged inventions,
trade secrets, and contract at issue, and (3) BioCardia’s pleading forecloses the existence of
BioCardia trade secrets.

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       First Amended Answer and Counterclaims by January 8, 2020, a date agreed upon
       by the parties. Outside of these pleadings, no other parties, claims, or defenses
       are expected to be added or dismissed.
(3:19-cv-05645-VC, Dkt. 35 at 7.) The parties proposed February 10, 2020 as the deadline to

amend, which the Court’s Scheduling Order adopted. (3:19-cv-05645-VC, Dkt. 45 at 2.)

       As BioCardia admits, BioCardia knew or should have known before this deadline to

amend that nVision had not merged into Boston Scientific but remained a separate entity. (Ex. 2,

July 23, 2020 Hearing Tr. at 28:14-18 (BioCardia’s counsel: “Should I have realized earlier that .

. . nVision [] remained a separate company, a wholly-owned sub rather than division, yes, I

should have realized it sooner.”).) Indeed, Counterdefendants informed BioCardia of this

multiple times before February 10, including: (a) in the declaratory-judgment complaint, (3:19-

CV-05645-VC, Dkt. 1 ¶¶ 11, 12, 118, 151); (b) during a December 6, 2019 meet-and-confer; (c)

in Boston Scientific’s Answer to BioCardia’s counterclaims, (3:19-cv-05645-VC, Dkt. 46, ¶ 53);

and, (d) in Sarna’s motion to strike certain references to nVision from BioCardia’s

counterclaims, (3:19-cv-05645-VC, Dkt. 48). The motion to strike made clear that nVision

remained “an active California corporation” and that “[i]f BioCardia believes nVision . . . is a

necessary party, it would have named it, served it and made it a party to these proceedings.” (Id.

at 2-4.) BioCardia responded with a statement of non-opposition—thus making the deliberate

choice not to include nVision in BioCardia I. (3:19-cv-05645-VC, Dkt. 56.)

II.    BioCardia Filed This Case (“BioCardia II”) To Assert Untimely Claims Against
       nVision.
       BioCardia later changed its mind regarding naming nVision as a party, but by then it was

too late. Having blown the February 10, 2020 deadline to add nVision to BioCardia I, BioCardia

sought to skirt that deadline by filing this separate action against nVision on April 23, 2020

(“BioCardia II”). BioCardia then amended its complaint in BioCardia II on May 22, 2020,

adding nineteen former nVision shareholders as still more parties, and then moved to

“consolidate” BioCardia I and II. Under the guise of “consolidation,” BioCardia in effect sought

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to add parties (nVision and former nVision shareholders) to BioCardia I that it could no longer

otherwise add. (See Ex. 2, July 23, 2020 Hearing Tr. at 34:16-18 (The Court: “They’ve admitted

that the reason that they have filed the second lawsuit against nVision is that they blew the

deadline in the first lawsuit.”).) The claim splitting doctrine does not allow BioCardia to do this.

                                      LEGAL STANDARD

        “‘Rule 12(b)(6) authorizes a court to dismiss a claim on the basis of a dispositive issue of

law.’” Seismic Reservoir 2020, Inc. v. Paulsson, 785 F.3d 330, 335 (9th Cir. 2015) (quoting

Neitzke v. Williams, 490 U.S. 319, 326 (1989)). When ruling on a motion to dismiss, the Court

may consider the facts alleged in the complaint, documents attached to the complaint, documents

relied upon but not attached to the complaint whose authenticity is not contested, and matters on

which the Court takes judicial notice. Jones v. Wells Fargo Bank, NA, 587 F. App’x 410, 410-11

(9th Cir. 2014) (citing Lee v. City of Los Angeles, 250 F.3d 668, 688-89 (9th Cir. 2001)).

                                          ARGUMENT

   I.      BioCardia’s Filing Of This Duplicative Action Is Quintessential Claim Splitting.
        Federal—not state—claim splitting/preclusion law governs this motion because

BioCardia I was brought in federal court under federal-question jurisdiction. The claim

preclusive effect of a judgment rendered by a federal court exercising federal-question

jurisdiction is governed by federal preclusion law. Media Rights Techs., Inc. v. Microsoft Corp.,

922 F.3d 1014, 1021 n.6 (9th Cir. 2019) (“Because the decision to be given preclusive effect was

rendered by a federal court exercising federal-question jurisdiction, federal common law

determines whether preclusion applies.”); cf. Pollok v. Vanguard Fiduciary Tr. Co., 803 F.

App’x 67, 68 (9th Cir. 2020) (“The district court erred in applying federal preclusion law in its

claim-splitting analysis because federal courts apply state preclusion law in analyzing the

preclusive effect of a prior federal diversity judgment.”).




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       “The doctrine of claim-splitting bars a party from bringing claims arising from the same

set of facts in successive actions, rather than bringing them all at once.” Rivera v. Am. Fed’n of

State, Cty., & Mun. Employees, 2017 WL 3021038, at *3 (N.D. Cal. July 17, 2017); see also

Vanover v. NCO Fin. Servs., Inc., 857 F.3d 833, 841 (11th Cir. 2017) (“[I]t is well settled that a

plaintiff ‘may not file duplicative complaints in order to expand their legal rights.’”). The test

for claim splitting “‘borrow[s] from the test for claim preclusion[,]’ but rather than requiring that

the first suit have a final determination on the merits, it ‘assum[es] that the first suit were already

final.’” Rivera, 2017 WL 3021038, at *3 (quoting Adams v. California Dep’t of Health Servs.,

487 F.3d 684, 688-89 (9th Cir. 2007), overruled in part on other grounds by Taylor v. Sturgell,

553 U.S. 880 (2008)3). “[I]n the claim-splitting context, the appropriate inquiry is whether,

assuming that the first suit were already final, the second suit could be precluded pursuant to

claim preclusion.” Adams, 487 F.3d at 689. “Thus, in assessing whether the second action is

duplicative of the first, we examine whether the causes of action and relief sought, as well as the

parties or privies to the action, are the same.” Id.

       A court may dismiss, with prejudice, a second-filed action that violates the rule against

claim splitting. Id. at 692 (“[T]he district court did not abuse its discretion in electing to dismiss

the second action with prejudice.”); Rivera, 2017 WL 3021038 at *3 (“If a court determines that

a party has impermissibly split her claims, it may exercise its discretion to ‘dismiss the

duplicative later-filed action . . .’”). Courts in the Ninth Circuit have applied the claim splitting

doctrine to dismiss second-filed actions in a variety of contexts, including second-filed actions

brought against parties in privity with those in a first-filed declaratory-judgment action. Single

3
 Adams was overruled to the extent it relied on a doctrine of “virtual representation,” which is
not at issue here. “[T]he Adams court’s discussion of impermissible claim-splitting remains
precedential.” Rivera, 2017 WL 3021038, at *3 n.2 (quoting Lennar Mare Island, LLC v.
Steadfast Ins. Co., 2016 WL 3197390, at *2 (E.D. Cal. June 8, 2016)); see also MLC Intellectual
Prop., LLC v. Micron Tech., Inc., 2019 WL 4963253, at *4 (N.D. Cal. Oct. 8, 2019); Anguiano-
Tamayo v. Wal-Mart Assocs., Inc., 2019 WL 359417, at *5 (N.D. Cal. Jan. 29, 2019).


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Chip Sys. Corp. v. Intermec IP Corp., 495 F. Supp. 2d 1052, 1058 (S.D. Cal. 2007); see also

Jackson v. Hayakawa, 605 F.2d 1121, 1125 (9th Cir. 1979) (claim preclusion barred second-filed

action involving same issues, parties and their privies, as first-filed declaratory-judgment action).

       Applied here, BioCardia II is entirely duplicative of BioCardia I. This action is wasteful,

improper, and should never have been filed. The Court should apply the claim splitting doctrine

and dismiss this duplicative lawsuit with prejudice. Adams, 487 F.3d at 692 (“Dismissal of the

duplicative lawsuit, more so than the issuance of a stay or the enjoinment of proceedings,

promotes judicial economy and the ‘comprehensive disposition of litigation.’”).
       A.      As BioCardia Concedes, “the Two Cases Arise Out of Exactly the Same
               Facts.”
       “To ascertain whether successive causes of action are the same, [courts] use the

transaction test, developed in the context of claim preclusion.” Anguiano-Tamayo, 2019 WL

359417, at *5 (quoting Adams, 487 F.3d at 689). “Courts examine four criteria in applying the

transaction test: ‘(1) whether rights or interests established in the prior judgment would be

destroyed or impaired by prosecution of the second action; (2) whether substantially the same

evidence is presented in the two actions; (3) whether the two suits involve infringement of the

same right; and (4) whether the two suits arise out of the same transactional nucleus of facts.’”

Id. (quoting Adams, 487 F.3d at 689).

       “The last of these criteria is the most important,” Adams, 487 F.3d at 689, and is often

dispositive, Mpoyo v. Litton Electro-Optical Sys., 430 F.3d 985, 988 (9th Cir. 2005) (“We have

often held the common nucleus criterion to be outcome determinative under the first res judicata

element.”). Two actions arise out of the “same transactional nucleus of facts” if the events

causing the claimed liability “relate[] to the same set of facts and whether they could

conveniently be tried together.” Id. at 987; Int’l Union of Operating Engineers-Employers

Const. Indus. Pension, Welfare & Training Tr. Funds v. Karr, 994 F.2d 1429-30 (9th Cir. 1993).



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       There is no dispute that BioCardia I and BioCardia II arise out of the same transactional

nucleus of facts. As BioCardia acknowledges: “The two cases arise out of exactly the same

facts.” (3:19-cv-05645-VC, Dkt. 76 at 8; see also id. at 5 (“the overlap between the two cases is

total”); id. at 8 (“The BSC Case and the nVision Case are Essentially Identical”); id. at 10 (“The

two actions are so closely related that such duplication makes little, if any, sense.”).)

       All the other factors also compel a finding of claim splitting. First, the rights in

BioCardia I are threatened by BioCardia II because BioCardia II is an end-run around this

Court’s scheduling order in BioCardia I and involves the same issues and causes of action.

Second, because BioCardia asserts the same claims arising from the same transactions against

the same parties or their privies under the same legal theories, it would necessarily rely on the

same evidence in both cases. (See, e.g., 3:19-cv-05645-VC, Dkt. 80 at 4 (BioCardia stating that

the actions involve “the application of the same facts to the same law”); id. at 5 (“the cases will

require substantially similar discovery”).) Third, both actions similarly “involve infringement of

the same right”—BioCardia seeks damages and injunctive relief in both actions stemming from

Sarna’s alleged breach of contract and misappropriation of BioCardia’s trade secrets.
       B.      nVision is in Privity With Multiple Counterdefendants in the Original Case.
       For claim splitting, a party is in privity with a party to the first action where “‘the [party

is] adequately represented in the prior litigation by someone with the same interests who [is] a

party.’” Efficient Frontiers, Inc. v. Marchese, 2016 WL 7117243, at *3 (C.D. Cal. Dec. 6, 2016)

(quoting Taylor, 553 U.S. at 894). “[A] lesser degree of privity is required” to support a

defendant’s use of claim splitting than in other contexts. See In re PersonalWeb Techs., LLC, et

al. Patent Litig., 2019 WL 1455332, at *8 (N.D. Cal. Apr. 2, 2019) (“[A] lesser degree of privity

is required for a new defendant to benefit from claim preclusion than for a plaintiff to bind a new

defendant in a later action.”).




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       Applied here, nVision is in privity with multiple Counterdefendants in BioCardia I—

including Boston Scientific and Sarna—because nVision has the same interest as these

Counterdefendants in disproving BioCardia’s allegations that Sarna acted improperly in founding

nVision or developing its intellectual property, and nVision’s interests are adequately

represented in BioCardia I by these Counterdefendants.

               1.      As a wholly-owned subsidiary of Boston Scientific, nVision is in
                       privity with Boston Scientific for purposes of claim splitting.
       BioCardia concedes that “nVision is a wholly-owned subsidiary of Boston Scientific, and

the acts alleged [against] them in both cases are the same.” (3:19-cv-05645-VC, Dkt. 80 at 5.)

Accordingly, nVision and Boston Scientific have the same interests in this litigation, and

nVision’s interests are adequately represented in BioCardia I by its corporate parent, Boston

Scientific. Indeed, this Court and others in this Circuit have consistently found a corporate

parent and its wholly-owned subsidiary to be in privity for purposes of claim splitting (or claim

preclusion). See, e.g., MLC Intellectual Prop., LLC v. Micron Tech., Inc., 2019 WL 4963253, at

*6 (N.D. Cal. Oct. 8, 2019) (“[O]rdinarily, a wholly-owned subsidiary is deemed in privity with

its parent for claim splitting (or at least res judicata) purposes.”); Tuitama v. Nationstar Mortg.

LLC, 2015 WL 12744269, at *10 (C.D. Cal. Apr. 13, 2015) (collecting cases), aff’d, 678 F.

App’x 538 (9th Cir. 2017); Lake at Las Vegas Inv’rs Grp., Inc. v. Pac. Malibu Dev. Corp., 933

F.2d 724, 728 (9th Cir. 1991) (final judgment against parent entity acted as res judicata bar to

claims against subsidiary); Wright & Miller, FED. PRAC. & PROC. JURIS. § 4460 (3d ed.)

(“Corporate parents and subsidiaries have been found in privity so as to enable one to assert

claim preclusion against a plaintiff who had already lost an action against the other.”).

               2.      nVision is also in privity with Sarna.
       BioCardia pleads in the SAC that nVision is “secondarily liable for Ms. Sarna’s

misappropriation of BioCardia’s trade secrets under the doctrine of respondeat superior because



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Ms. Sarna, as the president and founder of nVision, was acting within the course and scope of

her employment in committing the acts of misappropriation as herein alleged.” (Dkt. 75, ¶ 111.)

nVision and Sarna have the same interest in defeating BioCardia’s claims that Sarna

misappropriated BioCardia’s trade secrets on behalf of nVision, and thus privity also exists

between nVision and Sarna. See Tuitama, 2015 WL 12744269, at *10 (finding privity between

parent and subsidiary where parent was alleged to be “vicariously liable” under respondeat

superior); Ramirez v. Adventist Med. Ctr., 2017 WL 4798996, at *3 n.1 (D. Or. Oct. 24, 2017).

                                               ***

       Because BioCardia II is duplicative of BioCardia I—it involves the same causes of

action and the same parties and their privies—this action violates the rule against claim splitting

and should be dismissed with prejudice.4

II.    BioCardia’s Attempts To Avoid Application Of The Claim Splitting Doctrine Are
       Meritless.
       In an attempt to avoid what is a clear-cut application of the claim splitting doctrine,

BioCardia argued in its letter brief to the Court (3:19-cv-05645-VC, Dkt. 91) and at the July 23,

2020 hearing that claim splitting ought not bar its duplicative second action because: (1) nVision

acquiesced to the split; (2) nVision waived the right to argue claim splitting; and/or, (3) Adams

does not support a finding of claim splitting on the facts of this case. None of BioCardia’s

arguments have merit.
       A. nVision Did Not Acquiesce to Claim Splitting.
       According to BioCardia, “the Ninth Circuit [has] held that where, as here, a defendant

opposes a motion to consolidate two actions, it acquiesces to a claim split and the general rule

against claim splitting does not apply.” (3:19-cv-05645-VC, Dkt. 91 at 4 (citing RA Med. Sys.,

4
 As BioCardia’s counsel acknowledged, nVision currently has no assets and “so the practical
effect of not having nVision in the case . . . may well be nothing.” (Ex. 2, July 23, 2020 Hearing
Tr. at 29:2-4.) Thus, BioCardia also would not be prejudiced by the dismissal of its claims
against nVision, which if anything only further supports dismissal.

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Inc. v. PhotoMedex, Inc., 373 F. App'x 784, 787 (9th Cir. 2010)).) RA Medical, which is a non-

precedential decision, does not support BioCardia’s statement. In that case, PhotoMedex first

sued RA Medical, and RA Medical subsequently filed a second suit against PhotoMedex. In

response to the second suit, PhotoMedex: (1) asserted additional counterclaims that it had

discovered after it filed the first action, and then (2) moved to consolidate the two cases. RA

Medical opposed consolidation, and the district court denied the motion to consolidate.

Thereafter, the district court in the second suit dismissed PhotoMedex’s newly added

counterclaims as barred by the doctrine against claim splitting. PhotoMedex appealed and the

Ninth Circuit reversed, holding that the district court’s refusal to consolidate the actions

effectively forced PhotoMedex to litigate its newly discovered counterclaims in the second

action. RA Med., 373 F. App’x at 787-88; see Murphy v. Wells Fargo Home Mortg., 2013 WL

4482671, at *6 (N.D. Cal. Aug. 19, 2013). RA Medical is inapplicable to this case.

       First, RA Medical implicates an exception to the claim splitting doctrine that does not

apply here. Claim splitting does not bar a party from asserting a later-arising claim or a claim

that could not have been reasonably asserted in the first suit. See, e.g., Media Rights, 922 F.3d at

1021 (“[C]laim preclusion does not apply to claims that were not in existence and could not have

been sued upon—i.e., were not legally cognizable—when the allegedly preclusive action was

initiated.”). The district court’s dismissal of PhotoMedex’s counterclaims in the second suit had

the effect of barring PhotoMedex from litigating claims it could not have reasonably asserted in

the first suit—effectively barring PhotoMedex from litigating its newly discovered counterclaims

at all—and thus was found to be an abuse of discretion. RA Med., 373 F. App’x at 786-87

(“PhotoMedex alleged . . . that it did not learn of the misappropriation until . . . 2006”—three

years after it had filed the first suit); see Murphy, 2013 WL 4482671, at *6. Unlike PhotoMedex,

here BioCardia “had a full and fair opportunity to raise and litigate in [the] first action the claims
[against nVision] [it] now asserts in this action.” Adams, 487 F.3d at 693.


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       Second, it was RA Medical that filed the second action and then opposed consolidation.

The district court improperly allowed RA Medical to benefit from the situation it had created

when it dismissed PhotoMedex’s claims for claim splitting. In reversing, the Ninth Circuit held

that by filing the second suit and then opposing consolidation, RA Medical acquiesced to the

split—and therefore acquiesced to PhotoMedex litigating its newly discovered counterclaims in

the second action rather than a single consolidated action. RA Med., 373 F. App’x at 787.

Essentially, this holding prevented RA Medical from benefiting from a situation of its own

creation. Here, by contrast, BioCardia is the party who created the problem by improperly filing

the second duplicative action, and it is BioCardia’s claims that should be dismissed for improper

claim splitting.

       Third, Boston Scientific opposed BioCardia’s motion to consolidate on the basis that

BioCardia II was “a blatant attempt to circumvent the Court’s Scheduling Order,” (3:19-cv-

05645-VC, Dkt. 78 at 5, 9, 11, 12), and “the Court should not allow BioCardia to benefit from its

blatant circumvention of the Court’s Scheduling Order,” (id. at 16). Thus, far from acquiescing

to BioCardia’s improper claim splitting, Boston Scientific’s opposition made clear that

“BioCardia’s tactics are improper.” (Id. at 5, 12.) Nothing in Boston Scientific’s opposition to

consolidation can be construed as consenting to BioCardia’s improper claim splitting, and

nothing in RA Medical suggests otherwise. See Murphy, 2013 WL 4482671, at *6

(“[D]uplicative actions are not condoned by RA Med.”).
       B.      nVision Has Not Waived Its Claim Splitting Argument.
       According to BioCardia, “[b]ecause nVision answered the complaint without a defense of

claim splitting, nVision waived the defense.” (3:19-cv-05645-VC, Dkt. 91 at 5.) BioCardia’s

waiver argument is without merit, as the Court already stated. (Ex. 2, July 23, 2020 Hearing Tr.

at 5:12-14 (“Do I think they waived, you know, the right to seek dismissal on claim-splitting

grounds? No, I don’t think so.”).)



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       The Ninth Circuit has “liberalized the requirement that affirmative defenses be raised in a

defendant’s initial pleading,” Rivera v. Anaya, 726 F.2d 564, 566 (9th Cir. 1984), such that “[i]n

the absence of a showing of prejudice . . . an affirmative defense may be raised for the first time

at summary judgment,” Camarillo v. McCarthy, 998 F.2d 638, 639 (9th Cir. 1993). “This is so

even if the affirmative defense in question was not listed in the answer . . . and even if no answer

was filed.” Alcarmen v. J.P. Morgan Chase Bank, 2014 WL 3368647, at *5 (N.D. Cal. July 8,

2014) (granting summary judgment on claim preclusion grounds “notwithstanding Defendants’

inexplicable failure to answer the Complaint”); see also Gay v. Parsons, 2019 WL 3387954, at

*3 n.2 (N.D. Cal. July 26, 2019) (“A defendant may raise affirmative defenses after initial

pleading so long as delay does not prejudice the plaintiff—and it is the plaintiff’s burden to claim

prejudice.”), aff’d, 810 F. App’x 552 (9th Cir. 2020); Adobe Sys. Inc. v. NA Tech Direct Inc.,

2019 WL 5579472, at *10 (N.D. Cal. Oct. 29, 2019) (“Adobe argues that Defendants waived

their collateral estoppel defense by not pleading it in their answer. . . . Defendants did not waive

their collateral estoppel defense because Adobe articulated no prejudice.”).

       Here, BioCardia II is still in its earliest stages—there is not even a scheduling order in

place. Accordingly, any delay by nVision in raising claim splitting has been minimal, especially

in view of the procedural confusion wrought by BioCardia’s highly unusual and excessive

litigation conduct. (Ex. 2, July 23, 2020 Hearing Tr. at 36:14-16 (“I think [the waiver] argument

is very weak in the highly unusual context of this case.”).) See Alcarmen, 2014 WL 3368647, at

*5 (“In exercising its discretion, the Court takes into account the unusual circumstances of this

case.”). Thus, there was no waiver.
       C.      Adams Makes Clear That Dismissal with Prejudice Is the Proper Remedy.
       At the July 23, 2020 hearing, BioCardia’s counsel suggested that Adams does not support

the application of claim splitting in this case. (See Ex. 2, July 23, 2020 Hearing Tr. at 20:1-23

(discussing Adams, 487 F.3d at 688 n.1).) But as discussed above, Adams compels a finding of



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claim splitting because “the causes of action and relief sought, as well as the parties or privies to

the action, are the same,” 487 F.3d at 689, and nothing in footnote 1 of Adams changes that

result. Footnote 1 in Adams, 487 F.3d at 688, states as follows:

        We note that we are affirming the district court’s dismissal on the basis that the
        second action was duplicative of the first, and not on the basis that the district court
        had the discretion to dismiss the second action as a sanction for failing to comply
        with the Rule 16 scheduling order issued in the first action. Cf. Atchison, Topeka,
        & Santa Fe Ry. Co. v. Hercules, Inc., 146 F.3d 1071, 1073–74 (9th Cir. 1998)
        (holding that district court abused its discretion in dismissing a second-filed action
        with prejudice where plaintiff’s claims against a third-party defendant were
        permissive, not mandatory, under Federal Rule of Civil Procedure 14). Unlike the
        plaintiff in Atchison, Adams was required to bring all of her claims against the
        defendants and their privies arising from a single cause of action in one suit. Thus,
        because the filing of a duplicative complaint was abusive, our affirmance of the
        district court’s dismissal does not contravene the rule established in Atchison that
        “district courts have inherent power to control their dockets, but not when its
        exercise would nullify the procedural choices reserved to parties under the federal
        rules.” Id. at 1074.
        Neither this footnote nor the Atchinson case it cites helps BioCardia avoid dismissal of

this action for improper claim splitting. To the contrary, in the footnote, Adams makes clear that

the Ninth Circuit is affirming the district court’s dismissal on the basis of improper claim

splitting. And with respect to the reference to Atchinson, that case involved a different situation

involving a third-party impleader claim under Rule 14, which are never subject to claim splitting.

        In Atchinson, the district court had entered a scheduling order setting a deadline to add

third-party defendants. 146 F.3d at 1072. After that deadline passed, Santa Fe sought to add

Rule 14 impleader claims against a third party (Hercules), but “[r]ather than move the district

court for leave to amend its complaint . . . to add cross-claims against Hercules, Santa Fe filed a

completely separate action.” Id. at 1073. The district court dismissed the second suit against

Hercules on the basis that the “separate suit against Hercules constituted a violation of court

orders issued in the [first] action.” Id.




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       The Ninth Circuit reversed for two reasons. First, the Ninth Circuit held that a district

court’s power to sanction a party for violating a scheduling order does not extend beyond the

action in which the violation occurs. Id. at 1073 (“The effect of a district court’s sanction may

not pervade beyond the action in which the violation occurred.”). Second, the Ninth Circuit

reasoned that “allow[ing] dismissal of Santa Fe’s separate action against Hercules would

eviscerate Rule 14.” Id. at 1073-74. “The crucial characteristic of a Rule 14 claim is that

defendant is attempting to transfer to the third-party defendant the liability asserted against him

by the original plaintiff.” Irwin v. Mascott, 94 F. Supp. 2d 1052, 1056 (N.D. Cal. 2000). Thus,

Rule 14 impleader claims are never subject to claim splitting because they do not satisfy the

“same parties or their privies” requirement. Adams, 487 F.3d at 689. For example, when a

defendant claims indemnification against a third party (as in Atchinson), that third party is not in

privity with the plaintiff. The third-party indemnitor and plaintiff do not share the unity of

interests required for privity—their interests are very much adverse—and the third-party

indemnitor cannot be said to be “adequately represented” in the first lawsuit by the plaintiff.

       As Adams makes clear, nothing in Atchison prevents a court from dismissing an action

that violates the claim splitting doctrine. See Bennett-Bagorio v. City & Cty. of Honolulu, 2014

WL 296860, at *6 (D. Haw. Jan. 28, 2014) (“Atchison turned on the proper application of Fed. R.

Civ. P. 14, which is not in play here, and did not address the claim-splitting doctrine. In fact, in

Adams, the Ninth Circuit clarified that an application of the claim-splitting doctrine to dismiss a

second action as duplicative does not conflict with the Atchison decision because there is no

conflicting rule of civil procedure for a proper dismissal in the claim-splitting context.”);

Montgomery v. Etreppid Techs., LLC, 2010 WL 1416771, at *19 (D. Nev. Apr. 5, 2010).

       BioCardia’s claims against nVision are not Rule 14 claims. Accordingly, Atchison’s

holding that Rule 14 claims can be brought in a separate action is inapposite. As to Atchison’s
holding that a district court’s sanction for violating a scheduling order cannot extend beyond the


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action in which the violation occurred does not prevent the Court from dismissing this action for

improper claim splitting. Rather, under this motion, the Court would not be dismissing this case

as a sanction for BioCardia’s violation of the Scheduling Order in BioCardia I, but because

BioCardia II is duplicative of BioCardia I and runs afoul of the claim splitting doctrine. Adams,

487 F.3d 688 n.1. (See Ex. 2, July 23, 2020 Hearing Tr. at 21:21-22:1 (“[T]he second case

would not be dismissed as a sanction for failing to comply with the Rule 16 Scheduling Order.

The case would be dismissed . . . on the basis that the second action is duplicative of the first.”).)

III.   In The Alternative, To The Extent Any Of BioCardia’s Claims Against nVision Are
       Not Dismissed For Claim Splitting, They Should Be Stricken And/Or Dismissed For
       Failure To State A Claim.
       In the event any part of this action against nVision somehow survives claim splitting,

Boston Scientific requests the following relief in the alternative. First, BioCardia’s SAC should

be stricken under Rule 16(f) for exceeding the scope of the Court’s leave to amend. BioCardia

was only given leave to amend its complaint in response to EXXclaim’s motion to dismiss on the

basis that its constructive trust claim was not viable. (Dkt. 64 at 2.) BioCardia never sought

leave to amend and expand its allegations on any other issue and had no ability to amend as of

right. Accordingly, the Court should strike the SAC in it is entirety or, at a minimum, all

amendments not responsive to EXXclaim’s motion. Bassam v. Bank of Am., 2015 WL

12697873, at *4 (C.D. Cal. Nov. 3, 2015) (“Where leave to amend is given to cure deficiencies

in certain specified claims, courts have agreed that new claims alleged for the first time in the

amended pleading should be dismissed or stricken.”); Raiser v. City of Los Angeles, 2014 WL

794786, at *4 (C.D. Cal. Feb. 26, 2014) (same).

       Second, BioCardia’s claims against nVision for correction of inventorship, breach of

contract, and trade-secret misappropriation should be dismissed under Rule 12(b)(6) for failing

to state a claim. Because BioCardia’s claims against nVision in BioCardia II are virtually
identical to its claims in BioCardia I, nVision does not repeat the Rule 12(b)(6) arguments made


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in the contemporaneously filed motion to dismiss filed by Sarna in BioCardia I. But, a number

of those same arguments apply with equal force to the complaint against nVision, including:

   •   BioCardia’s failure to plead facts establishing its ownership of the alleged inventions,

       contract, and trade secrets at issue in this litigation;

   •   BioCardia’s failure to allege sufficient inventive contributions to warrant joint

       inventorship of any issued patents;

   •   BioCardia’s improper claim for correction of inventorship for patent applications and

       foreign patents; and,

   •   BioCardia’s pleading of facts that negate the existence of any BioCardia trade secrets.

To the extent BioCardia’s claims in BioCardia I are dismissed on any of these bases,

BioCardia’s claims in this case should be dismissed for identical reasons.

       Third, BioCardia’s claim for trade-secret misappropriation under the Defend Trade

Secrets Act (“DTSA”) should also be dismissed for failure to state a claim because the SAC fails

to sufficiently allege that its trade-secret allegations arose after the effective date of the DTSA.

(Dkt. 75, ¶ 216.) “The DTSA applies only to misappropriations that occurred ‘on or after the

date of [DTSA’s] enactment’—May 11, 2016.” Wang v. Golf Tailor, LLC, 17-CV-00898-LB,

2017 WL 2861111, at *4-5 (N.D. Cal. July 5, 2017). The SAC merely states that “at least some

of the acts of misappropriation, including at least the disclosure or use of the BioCardia Trade

Secrets, occurred after the May 11, 2016 effective date of the Act.” (Dkt. 75, ¶ 216.) This bare

recitation of the legal standard for the application of the DTSA is insufficient to state a claim.

                                          CONCLUSION

       BioCardia’s suit against nVision clearly satisfies the test for claim splitting set forth in

Adams because “the causes of action and relief sought, as well as the parties or privies to the

action, are the same.” 487 F.3d at 689. Accordingly, nVision respectfully requests that the
Court dismiss BioCardia’s claims against nVision with prejudice.


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Dated: September 24, 2020   FAEGRE DRINKER BIDDLE & REATH LLP

                            By:    /s/ Timothy E. Grimsrud
                                  David J.F. Gross (SBN 290951)
                                  Nick P. Chan (SBN 286925)
                                  FAEGRE DRINKER BIDDLE & REATH LLP
                                  1950 University Avenue, Suite 450
                                  East Palo Alto, CA 94303
                                  Telephone: (650) 324-6700
                                  Fax: (650) 324-6701
                                  david.gross@FaegreDrinker.com
                                  nick.chan@FaegreDrinker.com

                                  Timothy E. Grimsrud (pro hac vice)
                                  Kevin P. Wagner (pro hac vice)
                                  Lauren J.F. Barta (pro hac vice)
                                  FAEGRE DRINKER BIDDLE & REATH LLP
                                  2200 Wells Fargo Center
                                  90 South 7th Street
                                  Minneapolis, MN 55402
                                  Telephone: (612) 766-7000
                                  Fax: (612) 766-1600
                                  tim.grimsrud@FaegreDrinker.com
                                  kevin.wagner@FaegreDrinker.com
                                  lauren.barta@FaegreDrinker.com

                                  Attorneys for Defendant nVision Medical Corporation




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